                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                   CENTRAL DIVISION

REPRODUCTIVE HEALTH SERVICES OF PLANNED
PARENTHOOD OF THE ST. LOUIS REGION, INC., on
behalf of itself, its physicians, its staff, and its patients; and
COLLEEN P. MCNICHOLAS, D.O., M.S.C.I.,
F.A.C.O.G., on behalf of herself and her patients,
                                       Plaintiffs,

                                v.

MICHAEL L. PARSON, in his official capacity as
Governor of the State of Missouri; ERIC S. SCHMITT, in
his official capacity as Attorney General of the State of            CIVIL ACTION
Missouri; KIMBERLY M. GARDNER, in her official
capacity as the Circuit Attorney for the City of St. Louis;                    2:19-cv-4155
                                                                     Case No. ____________
JADE D. JAMES, M.D., in her official capacity as
President of the Missouri State Board of Registration for               COMPLAINT FOR
the Healing Arts; SARAH MARTIN, PH.D., M.P.P.,                          INJUNCTIVE AND
M.P.H., in her official capacity as Secretary of the                  DECLARATORY RELIEF
Missouri State Board of Registration for the Healing Arts;
SAMMY L. ALEXANDER, M.D., JAMES A. DIRENNA,
D.O., JEFFREY S. GLASER, M.D., F.A.C.S.,
KATHERINE J. MATHEWS, M.D., NAVEED
RAZZAQUE, M.D., DAVID E. TANNEHILL, D.O., and
MARC K. TAORMINA, M.D., F.A.C.P., in their official
capacities as Members of the Missouri State Board of
Registration for the Healing Arts; and RANDALL
WILLIAMS, M.D., in his official capacity as Director of
the Department of Health & Senior Services of the State of
Missouri,
                                       Defendants.




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        Plaintiffs Reproductive Health Services of Planned Parenthood of the St. Louis Region,

Inc. (“RHS”), on behalf of itself, its physicians, its staff, and its patients, and Dr. Colleen P.

McNicholas, D.O., M.S.C.I., F.A.C.O.G., on behalf of herself and her patients, by and through

their attorneys, bring this Complaint against the above-named Defendants, their employees,

agents, and successors in office, and in support thereof state the following:

                                         INTRODUCTION

        1.       For years, Missouri officials have engaged in a targeted campaign against

abortion. Through the enactment of medically unnecessary restrictions and requirements,

Missouri has succeeded in forcing two safe and high-quality health centers to stop providing

abortion care and has prevented others from starting. In addition, by requiring invasive and

medically inappropriate pelvic exams before all abortions, Missouri also put Plaintiffs in the

position of having to stop providing medication abortions except in those rare cases where a

pelvic exam is clinically appropriate. As a result, by early 2019, the entire state of Missouri was

left with only one abortion clinic, located on the easternmost edge of the state, that provides only

one of the two main types of abortion care on a regular basis (that is, surgical, but not

medication, abortion). Starting in May 2019, the Missouri Department of Health & Senior

Services (“DHSS”) undertook efforts to shutter this last remaining clinic—efforts that have thus

far been blocked by stay orders from a Missouri State Court and the Missouri Administrative

Hearing Commission. Yet even this was not enough.

        2.       On May 25, 2019, Missouri officials launched their most extreme attack on the

rights guaranteed under Roe v. Wade when Governor Parson signed House Bill No. 126—the

subject of this Complaint—into law.




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       3.       Plaintiffs challenge five recently enacted abortion restrictions in that legislation

(together, “H.B. 126” or “the Bans”), which, on their face, directly violate long-standing

Supreme Court precedent and are the latest in Missouri’s unrelenting campaign to deny patients

the health care they seek and to which they are entitled.

       4.       Plaintiffs seek declaratory and injunctive relief from these five Bans on behalf of

themselves, their patients, and Plaintiff RHS’s physicians and staff, under the United States

Constitution and 42 U.S.C. § 1983. Without this relief, the Bans will have a devastating effect

on patients seeking access to abortion in the state.

       5.       The Bans are:

                       (a)      Mo. Rev. Stat. § 188.056 (the “8-Week Ban”), attached as

                                Exhibit 1;

                       (b)      Mo. Rev. Stat. § 188.057 (the “14-Week Ban”), attached as

                                Exhibit 2;

                       (c)      Mo. Rev. Stat. § 188.058 (the “18-Week Ban”), attached as

                                Exhibit 3;

                       (d)      Mo. Rev. Stat. § 188.375 (the “20-Week Ban”), attached as

                                Exhibit 4;

                       (e)      Mo. Rev. Stat. § 188.038 (the “Reason Ban”), attached as

                                Exhibit 5.

       6.       All Bans are set to take effect on August 28, 2019.

       7.       For more than four decades, the Supreme Court has held that “a State may not

prohibit any woman from making the ultimate decision to terminate her pregnancy before

viability.” Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 879 (1992); see id. at 871


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(“The woman’s right to terminate her pregnancy before viability is the most central principle of

Roe v. Wade. It is a rule of law and a component of liberty we cannot renounce.”). Because the

decision to bear a child is one of the “most intimate and personal choices a person may make in a

lifetime, choices central to personal dignity and autonomy, [and] central to the liberty protected

by the Fourteenth Amendment,” the Supreme Court has clearly held that, before viability, a State

cannot “insist [a patient] make the sacrifice” to undergo the “anxieties, [the] physical constraints,

[and] pain that only she must bear” in pregnancy and childbirth. Id. at 852.

       8.       Prior to the enactment of H.B. 126, Missouri already regulated the timing of

abortion to the extent permitted under binding Supreme Court precedent. Specifically, section

188.030(1)—a provision Plaintiffs do not challenge and which remains in effect in parallel to the

new Bans—prohibits “abortion of a viable” fetus except in the case of a medical emergency.

Under that Missouri statute, viability is defined, consistent with binding Supreme Court

precedent, as “that stage of fetal development when the life of the [fetus] may be continued

indefinitely outside the womb by natural or artificial life-supportive systems,” without reference

to a specific week in pregnancy. Mo. Rev. Stat. § 188.015(10) (effective Aug. 28, 2011). See,

e.g., Colautti v. Franklin, 439 U.S. 379, 388 (1979) (“Viability is reached when, in the judgment

of the attending physician on the particular facts of the case before him [or her], there is a

reasonable likelihood of the fetus’ sustained survival outside the womb, with or without artificial

support.”).

       9.       H.B. 126, however, directly conflicts with more than four decades of binding

precedent by criminalizing the provision of pre-viability abortions and, indeed, would prohibit

the vast majority of pre-viability abortions performed in Missouri. Specifically, four of the Bans

(the “Gestational Age Bans”) make it a crime to perform an abortion at or after 8, 14, 18, and 20


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weeks of pregnancy, respectively, as measured from the first day of a patient’s last menstrual

period (“LMP”),1 despite the fact that viability does not occur until well after the latest of these

gestational limits. And the Reason Ban proscribes the provision of pre-viability abortion at any

stage of pregnancy, if the provider “knows” that the patient’s decision to terminate her

pregnancy is based on (1) a “prenatal diagnosis, test, or screening” indicating Down syndrome or

the potential for it, or (2) the sex or race of the embryo or fetus. The Bans therefore outright

forbid patients from exercising their constitutionally protected right to a pre-viability abortion in

Missouri, in violation of the Fourteenth Amendment to the United States Constitution.

        10.      Unless this Court grants Plaintiffs the relief they seek, the Bans will irreparably

harm Plaintiffs and their patients by severely restricting access to pre-viability abortion care,

preventing the vast majority of patients from obtaining the constitutionally protected medical

care they seek. As a result, some patients will be prevented from obtaining abortion care

entirely, and be forced to carry their pregnancies to term against their will—for some, even in the

face of significant health risks that nevertheless would not qualify as a “medical emergency”

under the Bans. Other patients will attempt to seek abortions outside the medical system (with

the risks that may entail); and others may be forced to attempt to obtain care in other states (and

incur all the associated economic and logistical burdens and health risks of delay). Because each

of the Bans plainly prohibits a patient from making the ultimate decision to terminate her

pregnancy before viability, each is per se unconstitutional. Missouri’s expressed interest in

protecting potential life cannot alter the unconstitutionality of the proposed Bans; before




1
    In the medical context, pregnancy is measured from the first day of a patient’s LMP.



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viability, “the means chosen by the State to further [its] interest in potential life must be

calculated to inform the woman’s free choice, not hinder it.” Casey, 505 U.S. at 877.

        11.     In accordance with established precedent and to protect their patients and

themselves from these constitutional violations and to avoid irreparable harm, Plaintiffs seek

declaratory and injunctive relief to prevent enforcement of these five Bans.

                                   JURISDICTION AND VENUE

        12.     This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and

1343(a)(3).

        13.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§ 2201 and 2202, Rules 57 and 65 of the Federal Rules of Civil Procedure, and the general legal

and equitable powers of this Court.

        14.     Venue is appropriate under 28 U.S.C § 1391(b), because a substantial part of the

events or omissions giving rise to Plaintiffs’ claims will occur in this judicial district and the

majority of the Defendants, who are sued in their official capacity, carry out their official duties

at offices located in this district.

                                           PLAINTIFFS

        15.     Plaintiff RHS is a not-for-profit corporation organized under the laws of Missouri

that provides high-quality reproductive health care in Missouri and is affiliated with Planned

Parenthood of the St. Louis Region and Southwest Missouri (“PPSLR”). RHS operates a health

center in St. Louis, Missouri, that provides abortion, contraception, adoption referral, and

miscarriage management services to patients. RHS offers pre-viability surgical abortion up to 21

weeks 6 days LMP. RHS brings this action on behalf of itself, its patients, and the physicians

and staff whom it employs to provide services to its patients.



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       16.     Plaintiff Colleen P. McNicholas, D.O., M.S.C.I., F.A.C.O.G. is a board-certified

obstetrician-gynecologist (“OB/GYN”) licensed to practice medicine in Missouri and four other

states. Dr. McNicholas is the Chief Medical Officer of PPSLR. Dr. McNicholas has provided

abortion care in a clinical setting since 2011, including at RHS and at a local hospital, and

currently oversees all abortion care at RHS. She was previously an Associate Professor in the

Department of Obstetrics and Gynecology at the Washington University in St. Louis School of

Medicine and served as Director of the Ryan Residency Training Program. Dr. McNicholas

continues to provide abortion care in the hospital setting. Dr. McNicholas joins this suit in her

individual capacity and in her capacity as Chief Medical Officer of PPSLR. Dr. McNicholas

sues on her own behalf and on behalf of her patients.

                                          DEFENDANTS

       17.     Defendant Michael L. Parson is the Governor of Missouri. Pursuant to Article IV

of the Missouri State Constitution, Governor Parson is directly responsible for ensuring that all

Missouri agencies, including the Missouri State Board of Registration for the Healing Arts (the

“State Board”) and DHSS, comply with applicable federal and state laws. He and his agents and

successors are sued in their official capacities.

       18.     Defendant Eric S. Schmitt is the Attorney General of Missouri. He has

concurrent original jurisdiction throughout the State of Missouri to commence actions for any

violation of a provision of Chapter 188 of Title XII—including the recently enacted Bans—

whether to prosecute alleged criminal violations of H.B. 126 or to seek injunctive relief against

any abortion provider who knowingly violates the Bans so as to prevent such provider from

performing or inducing further abortions in violation of the Bans. See Mo. Rev. Stat.




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§§ 188.075, .056(1), .057(1), .058(1), .375(3), (8). He and his agents and successors are sued in

their official capacities.

        19.     Defendant Kimberly M. Gardner is the Circuit Attorney for the City of St. Louis,

whose office is located at the Carnahan Courthouse, 1114 Market St., Room 401, St. Louis, MO

63101. Pursuant to Mo. Const. art. V, § 27(10)(b), she has the powers, duties, and functions of

the prosecuting attorney of the City of St. Louis. As such, like all other prosecuting attorneys in

Missouri, she “shall commence and prosecute all civil and criminal actions in the prosecuting

attorney’s county in which the county or the state is concerned.” Mo. Rev. Stat. § 56.060(1).

Defendant Gardner also shares express concurrent jurisdiction with the Missouri Attorney

General to “commence actions” to prosecute alleged criminal violations of any provision of

Chapter 188 of Title XII, including the recently enacted Bans. See id. §§ 188.075, .056(1),

.057(1), .058(1), .375(3), (8). Defendant Gardner is therefore responsible for criminal

enforcement of H.B. 126 in the City of St. Louis, where Plaintiff RHS’s health center is located

and where Plaintiff McNicholas also provides abortion care. Defendant Gardner also has

concurrent jurisdiction with the Missouri Attorney General to seek injunctive relief against any

abortion provider who knowingly violates the Bans so as to prevent such provider from

performing or inducing further abortions in violation of the Bans. See id. § 188.075. Defendant

Gardner and her agents and successors are sued in their official capacities.

        20.     Defendant Jade D. James, M.D. is President of the State Board. Defendant Sarah

Martin, Ph.D., M.P.P., M.P.H. is Secretary of the State Board. Defendants Sammy L. Alexander,

M.D.; James A. DiRenna, D.O.; Jeffrey S. Glaser, M.D., F.A.C.S.; Katherine J. Mathews, M.D.;

Naveed Razzaque, M.D.; David E. Tannehill, D.O.; and Marc K. Taormina, M.D., F.A.C.P. are

members of the State Board. The State Board is responsible for licensing medical professionals


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under Missouri law. See id. § 334.120. The Board and its members would therefore be

responsible for imposing any licensing penalties under the Bans, see id. § 188.065, and for

imposing licensing penalties upon a final adjudication of guilt, guilty plea, or plea of nolo

contendere in a criminal prosecution under the laws of any State—including under the Bans—for

any offense reasonably related to the regulated practice of medicine, see id. § 334.100(1), (2)(2).

The State Board Defendants and their agents and successors in office are sued in their official

capacities.

       21.     Defendant Randall Williams, M.D. is the Director of DHSS, a state agency

created by Mo. Rev. Stat. § 192.005. DHSS is statutorily charged with the licensing of abortion

facilities, id. §§ 197.200–.240, and it is empowered to investigate “compliance with the

provisions of chapter 188,” id. § 197.2300(2)(2), including the Bans newly enacted under that

chapter of the Missouri statutes. DHSS, under the direction of Defendant Williams, would

therefore be responsible for imposing any licensing penalties on Plaintiff RHS owing to any of

its physicians’ purported noncompliance with the Bans. Defendant Williams and his agents and

successors are sued in their official capacities.

                      THE CHALLENGED GESTATIONAL AGE BANS

       22.     H.B. 126 imposes a cascade of Gestational Age Bans—at 8, 14, 18, and 20 weeks

LMP—such that any later Gestational Age Ban is intended to remain in effect if any other

Gestational Age Ban is struck down as unconstitutional. Tacitly acknowledging the

unconstitutionality of the entire effort, each of these pre-viability Gestational Age Bans contains

a severability provision stating that, if a court concludes that any of these is “unenforceable,

unconstitutional, or invalid,” the balance of the statute “shall remain effective notwithstanding




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such unenforceability, unconstitutionality, or invalidity.” Mo. Rev. Stat. §§ 188.056(4), .057(4),

.058(4), .375(9).

        23.     Each of these Gestational Age Bans bars pre-viability abortions and therefore is

unconstitutional.

        24.     Each of these Gestational Age Bans criminalizes knowingly performing or

inducing an abortion at or beyond 8, 14, 18, or 20 weeks LMP, respectively. See id.

§§ 188.056(1), .057(1), .058(1), .375(3); see also id. § 188.015(6) (providing that gestational age

is measured “from the first day of the woman’s last menstrual period” for purposes of the

statute).

        25.     These Gestational Age Bans are each subject to only one exception, which

permits abortions at or after the relevant gestational point in the event of a “medical emergency.”

Id. §§ 188.056(1)–(2), .057(1)–(2), .058(1)–(2), .375(3)–(4). A qualifying medical emergency is

narrowly defined as “a condition that . . . so complicates the medical condition of a pregnant

woman as to necessitate the immediate abortion of her pregnancy to avert the death of the

pregnant woman or for which a delay will create a serious risk of substantial and irreversible

physical impairment of a major bodily function.” Id. § 188.015(7). The medical emergency

exception, however, does not prevent criminal prosecutions of providers; it simply gives the

provider an affirmative defense that the provider may assert in the event of prosecution. The

provider bears the burden on this affirmative defense and must show, by a preponderance of the

evidence, that the medical emergency exception applies. Id. §§ 188.056(2), .057(2), .058(2),

.375(4). No other exceptions, including where the pregnancy is the result of rape or incest, exist

with respect to these Gestational Age Bans.




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       26.       Knowingly performing or inducing an abortion in violation of the 8-, 14-, 18-, and

20-Week Bans is a Class B felony, punishable by at least five—and up to fifteen—years in

prison for the provider physician. See id. §§ 188.056(1), .057(1), .058(1), .375(3),

558.011(1)(2).

       27.       Each of the 8-, 14-, 18-, and 20-Week Bans also mandates the suspension or

revocation of a physician’s license as a civil penalty for any violation. See id. §§ 188.056(1),

.057(1), .058(1), .375(3) (providing that a person who performs or induces an abortion in

violation of each Ban shall be “subject to suspension or revocation of his or her professional

license by his or her professional licensing board” (emphasis added)). Additionally, the Missouri

Attorney General and any competent prosecuting attorneys—including the Circuit Attorney for

the City of St. Louis, Defendant Gardner—are statutorily empowered to seek injunctive relief

against any abortion provider who knowingly violates any of these Gestational Age Bans so as to

prevent such provider from performing or inducing further abortions in violation of H.B. 126.

See id. § 188.075. Moreover, DHSS may attempt to revoke or not renew RHS’s license on the

basis of a violation of the Gestational Age Bans. See id. §§ 197.220, .230; Mo. Code Regs. Ann.

tit. 19, § 30-30.060.

                              THE CHALLENGED REASON BAN

       28.       The Reason Ban forbids any person from performing or inducing an abortion if

such person “knows that the woman is seeking the abortion solely because of a prenatal




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diagnosis, test, or screening indicating Down Syndrome or the potential for Down Syndrome”2

or “solely because of the sex or race” of the embryo or fetus. Mo. Rev. Stat. § 188.038(2), (3).

        29.      In addition, H.B. 126 imposes a new reporting requirement to enforce compliance

with the Reason Ban. The Abortion Report required under § 188.052, which applies to an

attending physician for each abortion performed, must now include “a certification that the

physician does not have any knowledge that the woman sought the abortion solely because of a

prenatal diagnosis, test, or screening indicating Down Syndrome or the potential of Down

Syndrome” or “because of the sex or race” of the embryo or fetus. Id. § 188.052(1).

        30.      Violation of the Reason Ban exposes providers to civil penalties, including the

revocation of their medical licenses contemplated under Section 188.065. See id. § 188.038(4).

A physician who knowingly violates the Reason Ban may also be subject to a cause of action for

injunctive relief, brought by either the Attorney General or any prosecuting attorney, including

Defendant Gardner. See id. § 188.075. Moreover, DHSS may attempt to revoke or not renew

RHS’s license on the basis of a violation of the Reason Ban. See id. §§ 197.220, .230; Mo. Code

Regs. Ann. tit. 19, § 30-30.060.

                                      FACTUAL ALLEGATIONS

                                      Abortion Practice and Safety

        31.      A full-term pregnancy is approximately 40 weeks LMP.

        32.      Some individuals have fairly regular menstrual cycles, with a four-week cycle

being typical; others have regular cycles of different lengths; and still others have irregular




2
    “Down Syndrome” is defined as “a chromosomal disorder caused by an error in cell division that results in the
    presence of an extra whole or partial copy of chromosome 21.” Mo. Rev. Stat. § 188.015(5) (adopting the
    “Down Syndrome” definition under Mo. Rev. Stat. § 191.923).



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cycles. In a person with regular monthly periods, fertilization typically occurs two weeks

post-LMP—that is, two weeks after the first day of the last menstrual period. An individual with

a highly regular, four-week cycle would be four weeks LMP at the time of the first missed

period.

          33.    Prior to and after eight weeks LMP, many individuals do not know they are

pregnant—particularly those who have irregular cycles, who have certain common medical

conditions, who have been using contraceptives, who are breastfeeding, or who experience

bleeding during early pregnancy that could be mistaken for a period. Under H.B. 126, these

individuals would be denied the opportunity to obtain abortion care in Missouri altogether.

          34.    Even for individuals with highly regular, four-week cycles, eight weeks LMP is a

mere four weeks after they will have missed their period. A ban on abortion at eight weeks LMP

would therefore allow only four weeks, at most, for a patient with a regular menstrual cycle to

learn that the patient is pregnant, decide whether to have an abortion, and seek and obtain

abortion care.

          35.    The Supreme Court has defined viability as a reasonable likelihood of sustained

survival outside the uterus, with or without artificial aid. Viability is not the same for every

pregnancy. It is a determination that must be made by a trained medical professional on a case-

by-case basis. Colautti v. Franklin, 439 U.S. 379, 388 (1979) (“[V]iability is reached when, in

the judgment of the attending physician on the particular facts of the case before him [or her],

there is a reasonable likelihood of the fetus’ sustained survival outside the womb, with or without

artificial support.”).

          36.    Eight weeks LMP is a pre-viability point in pregnancy.

          37.    Fourteen weeks LMP is also a pre-viability point in pregnancy.


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        38.     Similarly, eighteen weeks LMP is a pre-viability point in pregnancy.

        39.     Likewise, twenty weeks LMP is a pre-viability point in pregnancy.

        40.     Viability generally does not occur until, at the earliest, several weeks after the

latest of these gestational points in the pregnancy.

        41.     Legal abortion is one of the safest medical procedures in the United States, and is

safer than continuing a pregnancy through to childbirth. Indeed, studies have estimated that a

woman’s risk of death associated with childbirth nationwide is approximately 14 times higher

than that associated with abortion, and every pregnancy-related complication is more common

among women giving birth than among those having abortions.3

        42.     The disparity in risks is even more stark in Missouri. While the national average

rate for maternal mortality was 20.7 maternal deaths per 100,000 live births in 2018, the rate was

more than 50% higher in Missouri—32.6 maternal deaths per 100,000 in 2018 (and a shocking

300% higher for Black women in Missouri, whose maternal mortality rate was 65 maternal

deaths per 100,000 in 2018).4 Indeed, Missouri ranks 42nd in the nation for maternal survival5

and, if it were its own country, its rate would be comparable to Tajikistan’s, putting Missouri in




3
    See Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced Abortion and
    Childbirth in the United States, 119 Obstetrics & Gynecology 215, 215 (2012).
4
    See Maternal Mortality in Missouri, Am.’s Health Rankings United Health Found., https://
    www.americashealthrankings.org/explore/health-of-women-and-children/measure/maternal_mortality/state/MO
    (last visited July 18, 2019).
5
    See Missouri Summary 2018, Am.’s Health Rankings United Health Found., https://www.
    americashealthrankings.org/explore/health-of-women-and-children/measure/maternal_mortality/state/MO (last
    visited July 18, 2019).



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73rd place worldwide.6 Despite these grim statistics, in 2018 the Missouri Legislature rejected

the opportunity to set up a committee dedicated to studying the issue.7

           43.   Abortion-related mortality is also lower than that for colonoscopies, plastic

surgery, and adult tonsillectomies.8 Abortion is safe and effective (and complications are very

rare) regardless of the method of abortion used.

           44.   Less than 1% of women obtaining abortions experience a serious complication.9

The risk of a woman experiencing a complication that requires hospitalization is even lower,

approximately 0.3%.10

           45.   Legal abortion is not only extremely safe but also common; approximately one in

four women in this country will have an abortion by age 45.11

           46.   Individuals seek abortion for a multitude of complicated and personal reasons that

are closely tied to each person’s values, culture and religion, health and reproductive history,

family situation and support system, educational or career goals, and resources and financial

stability.




6
     Country Comparison: Maternal Mortality Rate, CIA Factbook, https://www.cia.gov/library/publications/the-
     world-factbook/rankorder/2223rank html (last visited July 18, 2019).
7
     See Andy Marso, Missouri Among Worst Nationally in Maternal Deaths. Reps. Say No to Study on Issue, Kan.
     City Star (June 3, 2018).
8
     Ushma Upadhyay et al., Incidence of Emergency Department Visits and Complications After Abortion, 125
     Obstetrics & Gynecology 175, 175 (2015).
9
     Id.
10
     Id.
11
     See News Release, Guttmacher Inst., Abortion Is a Common Experience for U.S. Women, Despite Dramatic
     Declines in Rates (Oct. 19, 2017), https://www.guttmacher.org/print/news-release/2017/abortion-common-
     experience-us-women-despite-dramatic-declines-rates.



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         47.      Some patients have abortions because they conclude that it is not the right time to

become a parent given their age, desire to pursue their education or career, or because they lack

the necessary financial resources or level of partner or familial support or stability.

         48.      Others are already parents; indeed, a majority of women having abortions in the

United States already have at least one child,12 and among RHS’s abortion patients in 2018, over

63% had one or more children. These individuals may already be struggling to adequately

provide for their existing children—both materially and emotionally—and may be concerned

about their ability to do so if they add another child to their family. That strain is all the more

apparent if one considers that the vast majority—approximately 75%—of abortion patients

nationwide are poor or low income.13 That is true at RHS as well, where the overwhelming

majority of abortion patients are poor or low income; indeed, in 2018, 57% were living at or

below the poverty line.

         49.      Other women seek abortions because continuing with the pregnancy could pose a

risk to their health, and still others who struggle with addiction do not wish to carry a pregnancy

to term under those circumstances.

         50.      Other women seek abortions because of a diagnosis of a fetal medical condition.

Some families simply do not feel that they have the financial, medical, educational, or emotional

resources to care for a child with special needs or to do so alongside providing for the children

they already have.


12
     See Guttmacher Inst., Induced Abortions in the United States 1 (2018), https://www.guttmacher.org/sites/
     default/files/factsheet/fb_induced_abortion.pdf; see also Jenna Jerman, Rachel K. Jones & Tsuyoshi Onda,
     Guttmacher Inst., Characteristics of U.S. Abortion Patients in 2014 and Changes Since 2008, at 6, 7 (2016),
     https://www.guttmacher.org/sites/default/files/report_pdf/characteristics-us-abortion-patients-2014.pdf.
13
     Guttmacher Inst., Induced Abortions in the United States 1 (2018), https://www.guttmacher.org/sites/default/
     files/factsheet/fb_induced_abortion.pdf.



                                       15
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                                         Abortion Care in Missouri

         51.      The vast majority of women who seek abortion care in Missouri (as in the nation

as a whole) do so in the first trimester of pregnancy, when the pregnancy is at or less than 14

weeks LMP.14 For example, in 2016 through 2018, 82% of abortions at RHS were performed in

the first trimester. For that same time period, over 71% of RHS’s abortion patients obtained

abortions at or after 8 weeks LMP, 14% at or after 14 weeks LMP, 5% at or after 18 weeks LMP,

and 2.6% at or after 20 weeks LMP.

         52.      As relevant here, there are two main methods of abortion: medication abortion

and surgical abortion. Medication abortions, which are provided in the first trimester, typically

through approximately 10 weeks LMP, involve the administration of two types of medications

(pills) at least one day apart to induce an early miscarriage. Medication abortion requires no

anesthesia or sedation; the patient simply takes the pills. Medication abortion is extremely

safe.15 Due to Missouri’s pelvic exam requirement, however, RHS does not generally provide

medication abortions.

         53.      Surgical abortions, which are provided in both the first and second trimesters, are

performed by dilating (opening) the uterine cervix and then using gentle suction and/or

instruments to empty the contents of the uterus. Despite being characterized as “surgical,” these

procedures are not surgical in the usual sense: They do not involve any incision into the

patient’s skin and in many cases can be performed with only local anesthesia. Pre-viability


14
     Compare id. at 2 (national statistics), with Dep’t of Health & Senior Servs., Table 12B. Recorded Abortions by
     Race, Age, and Type of Procedure by Weeks of Gestation: Missouri, 2017, at 1 (2017), https://health mo.gov/
     data/vitalstatistics/mvs17/Table12b.pdf.
15
     Comm. on Reproductive Health Services, Nat’l Acads. of Scis., Eng’g, & Med., The Safety and Quality of
     Abortion Care in the United States 79 (2018) (finding that “[t]he risks of medication abortion are similar in
     magnitude to the risks of taking commonly prescribed and over-the-counter medications such as antibiotics and
     NSAIDs [nonsteroidal anti-inflammatory drugs],” such as ibuprofen).



                                       16
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surgical abortion is available at RHS and at a local hospital where Plaintiff McNicholas

maintains admitting privileges, up to and after 20 weeks LMP. At this time, surgical abortion is

the only abortion method routinely performed by RHS.

         54.      Surgical abortion, like medication abortion, is extremely safe. Its mortality rates

are lower than those of colonoscopies and adult tonsillectomies, and significantly lower than

those of childbirth as well.16 Complications are extremely rare and may be handled safely and

effectively by any clinician with adequate training in abortion care, either on an outpatient basis

or (where necessary) via a referral.

         55.      While patients generally try to get an abortion as early in their pregnancies as

possible, in practice, numerous obstacles can cause delay. As noted, some patients (especially

those with irregular menstrual cycles) may not realize they are pregnant for weeks or months. A

patient may then be further delayed while confirming the pregnancy, researching options,

making the decision to have an abortion, contacting a provider, and scheduling an appointment.

Patients often are also delayed in obtaining funds necessary for the procedure17 and related

expenses (travel and childcare), as well as by difficulties in making the necessary logistical

arrangements (e.g., obtaining time off from work and arranging transportation and childcare).

Patients may also experience a delay in seeking an abortion because testing for fetal medical

conditions is not available until later in the pregnancy. Still other patients seek abortions later in

the pregnancy because of the progression of maternal health issues that may not emerge, be



16
     Matthew B. Barry, Cong. Research Serv. R45161, Abortion at or over 20 Weeks’ Gestation: Frequently Asked
     Questions 9 (2018); see also Nat’l Acads. of Scis., Eng’g, & Med., supra note 15, at 75.
17
     Missouri law prohibits public insurance, including Medicaid, insurance purchased on the state health exchange,
     and most private insurance issued in Missouri, from covering abortion services except in extremely limited
     circumstances. See Mo. Rev. Stat. § 376.805.



                                       17
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diagnosed, or make an abortion medically advisable until later in the pregnancy. And minor

patients, unless emancipated, may experience additional delay because they must obtain written

consent from a parent or a court order from a judge before they can receive abortion care. See

Mo. Rev. Stat. §§ 188.038, .250.

         56.      These delays are exacerbated by current Missouri law requiring (with extremely

limited exceptions) any patient who wishes to have an abortion to visit the abortion provider at

least 72 hours before the procedure will be performed. See id. § 188.079. During the initial

visit, the State mandates that the patient receive certain information. The patient must then wait

at least 72 hours before returning for the second visit, when the patient can receive the abortion.

Accordingly, each of Plaintiffs’ patients must make at least two separate visits to a clinic or

hospital, at least three full days apart, to obtain an abortion.18 No exceptions are provided based

on the distance a patient must travel to reach the clinic or hospital (which can be hundreds of

miles each way). Moreover, because Missouri law requires that the doctor who provides the

state-mandated information be the same doctor who performs the abortion, patients must

coordinate their visits so that they can see the same physician. Because of the complexity of

physicians’ schedules (for example, many of the physician-providers only staff the RHS clinic on

a part-time basis) and the fact that physicians, of course, are sometimes absent unexpectedly due

to illness or other reasons, scheduling visits to comply with the same-doctor requirement can

introduce further delay.

         57.      Other patients experience delays because they cannot take multiple days off from

work in close proximity without jeopardizing their jobs or the confidentiality of their pregnancy


18
     In the case of medication abortions and certain surgical abortions, the patient will have to make a third visit to
     the clinic for pre- or post-procedure care.



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and abortion decision. Others cannot arrange childcare for multiple days, or cannot do so

without compromising the confidentiality of their decision. These individual circumstances all

can lead to further delays.

         58.      These economic and logistical barriers are particularly problematic for patients at

or below the poverty line or otherwise low income, and they have a disproportionate effect on

patients of color. In 2016, 24% of Black Missouri women lived below the federal poverty level,

compared to 13.4% of white Missouri women.19 In 2018, 57% of RHS’s abortion patients were

living at or below the poverty line.

         59.      Accordingly, even some patients who discover they are pregnant and determine

that they wish to obtain an abortion before 8, 14, 18, or 20 weeks LMP may be past the threshold

for each respective Ban by the time they are able to overcome the various economic and

logistical challenges they face in obtaining the procedure.

         60.      As a result of Plaintiffs’ patients’ work and family obligations and other

scheduling constraints, Missouri’s mandatory delay and minimum-two-trip requirement forces

many patients to delay their abortions by days or weeks. Although abortion is safer than

carrying a pregnancy to term, delay increases the risks associated with the procedure.20

         61.      Many of Plaintiffs’ patients who seek care at or after 8, 14, 18, and 20 weeks

LMP are facing very difficult circumstances, yet the overwhelming majority of those patients

would fall outside the Ban’s exception for medical emergencies. Some of these patients may



19
     Overview of the Economic Status of Women of Color in Missouri, 2016, Status of Women in the States Fact
     Sheet (Inst. for Women’s Pol’y Res.), Mar. 2018, at 3 (summarizing data from the U.S. Census Bureau’s
     American Community Survey).
20
     The risk of a serious complication also increases as a woman’s pregnancy advances. Upadhyay et al., supra
     note 8, at 175.



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have health conditions that are caused or exacerbated by their advancing pregnancies, but that

may not fit within the Bans’ exception for a “medical emergency” necessitating an “immediate”

abortion to save those patients’ lives or prevent substantial and irreversible impairment of a

major bodily function. See Mo. Rev. Stat. §§ 188.015(7), .056(1), .057(1), .058(1), .375(3). For

example, patients may seek abortions later in their pregnancies because of (i) maternal health

conditions that worsen during the course of pregnancy, (ii) newly diagnosed medical conditions

that cannot be aggressively treated without risking harm to the fetus, and (iii) medical conditions

that arise during and are related to pregnancy. Other patients may receive diagnoses only after

these gestational points in their pregnancies that their fetus has a severe or potentially lethal

medical condition that would make life extremely difficult and painful. Other patients may be in

violent or abusive relationships and may be concerned that carrying to term will tether them to

their abuser. And still others may, as a result of the trauma they have endured from rape or

incest or other violent abuse, be delayed in seeking care while they deal with the associated

trauma.

       62.     Before providing any abortion care, Plaintiffs provide non-directive patient

counseling, which means they listen to, support, and inform the patient, without directing her

course of action. The process is designed to ensure that patients are well-informed with respect

to all their options, including terminating the pregnancy, carrying the pregnancy to term and

parenting, and carrying the pregnancy to term and placing the baby for adoption. In addition, the

process is designed to ensure that the patient’s choice is voluntary and not coerced.

       63.     Although some of Plaintiffs’ patients disclose information about their reasons for

seeking an abortion during these non-directive discussions, Plaintiffs do not require that patients




                                      20
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disclose any or all of their reasons for seeking an abortion, consistent with best medical

practices.

        64.     Down syndrome is the common name for a genetic condition, known as Trisomy

21, which results from an extra copy (full or partial) of the 21st chromosome. The medical

conditions and abilities of people with Down syndrome vary considerably, and the specific

manifestation of Down syndrome cannot be known before birth. Many people with Down

syndrome require significant care, sometimes through adulthood.

        65.     A variety of “screens” and more accurate diagnostic tests can help detect genetic,

chromosomal, or structural conditions like Down syndrome. But most patients do not receive a

confirmed Down syndrome diagnosis until well into the second trimester, generally at or after 18

weeks LMP.

        66.     The American College of Obstetricians and Gynecologists (“ACOG”), the

preeminent professional association for OB/GYNs, recommends that all patients, regardless of

age, be offered the option of screening or diagnostic testing for fetal genetic disorders, and that

patients with positive screening test results be offered counseling and diagnostic testing.

        67.     Patients who receive a positive Down syndrome test result or diagnosis are

typically referred by a high-risk OB/GYN to a genetic counselor for significant counseling.

Counseling is intended to provide comprehensive, objective, and individualized information that

addresses both the scientific aspect of any test result or diagnosis (e.g., the reliability of specific

test results) and the psychological effects of the results on the patient and any family members

who may be involved. A patient who learns of a Down syndrome or other fetal diagnosis faces a

complex decision that the patient should be able to make through self-reflection and discussion

with anyone whom the patient chooses to involve in the process (such as a spouse, partner,


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friend, family member, or doctor). It is critically important that patients have the information

and support they need to make this serious decision, and also the ability to terminate a pregnancy

safely, if that is what they decide is best for them.

        68.    While Plaintiffs, consistent with medical best practice, do not require that patients

disclose any, much less all, of their reasons for seeking an abortion, Plaintiffs are aware that

some of their patients seek abortions based solely or in part on a prenatal diagnosis of Down

syndrome. These patients typically come to the clinic or hospital after having already undergone

extensive counseling with genetic counselors and/or maternal-fetal medicine physicians, as well

as having engaged in extensive reflection and conversation with the most important people in

their lives.

        69.    Additionally, while Plaintiffs are unaware of any patient that has sought an

abortion based solely on the sex or race of the embryo or fetus, patients at times ask the sex of

the embryo or fetus when the ultrasound is performed, and the sex or race of the embryo or fetus

may occasionally be mentioned during non-directive counseling.

                                         Irreparable Harm

        70.    If H.B. 126 is permitted to take effect, Plaintiffs’ patients will be subject to

significant and irreparable constitutional, medical, emotional, and other harms for which no

adequate remedy at law exists.

        71.    Specifically, the Gestational Age Bans in H.B. 126 will bar Plaintiffs from

providing the vast majority of pre-viability abortions that their patients seek. Absent an

injunction, Plaintiffs will have no choice but to turn away patients in need of abortion care after 8

weeks LMP (or 14, 18, or 20 weeks LMP, to the extent any of the earlier Gestational Age Bans

are struck down while others remain).


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       72.     Some of Plaintiffs’ patients will be prevented from obtaining abortion care

entirely, and be forced to carry their pregnancies to term against their will—for some, even in the

face of significant health risks that nevertheless would not qualify as a “medical emergency”

under the Bans. Some will attempt to seek abortions outside the medical system (with all the

risks that may entail). Others will be forced to delay seeking an abortion (increasing the risk to

their health and well-being) and will have to attempt to obtain care in other states (and incur all

the associated economic and logistical burdens).

       73.     As between maintaining a pregnancy or having an abortion, H.B. 126 would

mandate the medically riskier course at or after 8 weeks (or 14, 18, or 20 weeks) LMP,

regardless of whether it is contrary to an individual patient’s will. Forcing a patient to continue a

pregnancy against her will can pose a risk to her physical, mental, and emotional health, and—in

a state that ranks ninth from the bottom nationwide for maternal survival—even her life, as well

as to the stability and well-being of her family, including her existing children.

       74.     The burden of the Gestational Age Bans is expected to fall most acutely on the

neediest patients, because financial resources often dictate how quickly patients are able to

receive the abortion care they seek. The overwhelming majority of RHS patients are poor or low

income and, indeed, the majority of abortion patients in Missouri are women of color. These are

the very constituencies that stand to be harmed the most by the Bans.

       75.     The Reason Ban, if it takes effect, would prohibit Plaintiffs’ patients from

obtaining pre-viability abortions if the provider has knowledge that a patient’s abortion decision

is based “solely” on particular reasons singled out by the State. It could also force Plaintiff

McNicholas , as well as other physicians providing abortions in Missouri, to probe patients’




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reasons for seeking an abortion (even where that information has not been volunteered) in order

to determine and document that performance of the abortion will not violate the Reason Ban.

       76.     Thus, if the physician knows that a patient has had a “prenatal diagnosis, test, or

screening indicating Down Syndrome or the potential of Down Syndrome,” or if the patient asks

the sex of the fetus when the ultrasound is performed, or otherwise mentions the embryo or

fetus’ race or sex in the non-directive patient counseling, the physician will be put in the position

of having to probe the patient’s reasons for seeking an abortion (in violation of best medical

practices and their patient’s constitutionally protected privacy interests) in order to determine and

document that the abortion does not violate the Reason Ban or pose a risk that the physician may

lose his or her medical license by performing it.

       77.     Moreover, if the physician knows the patient seeks an abortion solely because of a

potential Down syndrome diagnosis, the physician will be barred under the Reason Ban from

performing the procedure. As noted, Plaintiffs are unaware that any of their patients have ever

sought an abortion solely because of the race or sex of the embryo or fetus.

       78.     Plaintiffs wish to continue providing safe and compassionate pre-viability

abortion care to patients who have knowingly and voluntarily decided to terminate their

pregnancies, regardless of their reason for doing so and without having to inquire—in violation

of best medical practice and constitutionally protected privacy interests—about the reasons

behind this most personal and protected of patients’ decisions.




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                                     CLAIMS FOR RELIEF

                                            COUNT I

                              (Substantive Due Process – 8-Week Ban)

       79.     Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1 through 78.

       80.     By imposing a ban on abortion prior to viability, the 8-Week Ban violates

Plaintiffs’ patients’ rights to privacy and liberty guaranteed by the Fourteenth Amendment to the

United States Constitution.

                                           COUNT II

                           (Substantive Due Process – 14-Week Ban)

       81.     Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1 through 78.

       82.     By imposing a ban on abortion prior to viability, the 14-Week Ban violates

Plaintiffs’ patients’ rights to privacy and liberty guaranteed by the Fourteenth Amendment to the

United States Constitution.

                                           COUNT III

                           (Substantive Due Process – 18-Week Ban)

       83.     Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1 through 78.

       84.     By imposing a ban on abortion prior to viability, the 18-Week Ban violates

Plaintiffs’ patients’ rights to privacy and liberty guaranteed by the Fourteenth Amendment to the

United States Constitution.




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                                           COUNT IV

                           (Substantive Due Process – 20-Week Ban)

       85.     Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1 through 78.

       86.     By imposing a ban on abortion prior to viability, the 20-Week Ban violates

Plaintiffs’ patients’ rights to privacy and liberty guaranteed by the Fourteenth Amendment to the

United States Constitution.

                                               COUNT V

                              (Substantive Due Process – Reason Ban)

       87.     Plaintiffs re-allege and incorporate by reference the allegations contained in

paragraphs 1 through 78.

       88.     By imposing a ban on abortion prior to viability, the Reason Ban violates

Plaintiffs’ patients’ rights to privacy and liberty guaranteed by the Fourteenth Amendment to the

United States Constitution.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs ask this Court:

               A.      To immediately issue a temporary restraining order and/or preliminary

injunction, later to be made permanent, restraining Defendants, their employees, agents, and

successors in office from enforcing the challenged provisions of H.B. 126 to the extent those

provisions apply to pre-viability abortions;

               B.      To enter a judgment declaring that Sections 188.038, 188.056, 188.057,

188.058, and 188.375 violate the Due Process Clause of the Fourteenth Amendment to the

United States Constitution to the extent those provisions apply to pre-viability abortions;



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              C.       To enter a judgment declaring that Sections 188.015(5) and 188.052(1) are

invalid because they are not severable from the invalid provisions of Section 188.038;

              D.       To award Plaintiffs their attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988; and

              E.       To grant such other and further relief as the Court deems just and proper.



Dated: July 30, 2019                     Respectfully submitted,

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                                 CERTIFICATE OF NOTICE

I hereby certify that a copy of the above and foregoing was transmitted via electronic mail this
30th day of July, 2019, on:

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